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 1                                                             Judge Ronald B. Leighton
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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT TACOMA
10   UNITED STATES OF AMERICA,                        )       NO. CR05-5766RBL
                                                      )
11                         Plaintiff,                 )       ORDER
                                                      )       GRANTING STIPULATED
12                 v.                                 )       MOTION TO CONTINUE
                                                      )       TRIAL DATE
13   JUAN CARLOS ESCOBAR,                             )
     TOMAS RAMIREZ-LARA,                              )
14        a/k/a Jose Luis Cerda Rios, and             )
     JOSE ALFREDO GALLARDO GONZALEZ, )
15                                          )
                      Defendants.           )
16   _______________________________________)
17          Upon the stipulation and motion of the parties to continue the trial and pretrial
18   motions due date in the above-captioned case, and based upon the stipulated and agreed
19   facts set forth in the parties’ motion, which are hereby adopted as findings of the Court
20   and incorporated by reference, the Court finds that such a continuance would serve the
21   ends of justice and outweigh the best interests of the public and the Defendants in a
22   speedy trial; therefore,
23          IT IS HEREBY ORDERED that the trial date be continued to March 20, 2006.
24   The period of delay resulting from this continuance from January 3, 2006 to the new trial
25   date of March 20, 2006 at 9:00 a.m., is hereby excluded for speedy trial purposes under
26   18 U.S.C. § 3161(h)(8)(A) and (B) for the purpose of computing the time limitations
27   imposed by the Speedy Trial Act, 18 U.S.C. § 3161-3174.
28


     [PROPOSED] ORDER GRANTING STIPULATED MOTION TO CONTINUE                       UNITED STATES ATTORNEY
                                                                                   1201 PACIFIC AVENUE, SUITE 700
     U.S. v. Escobar, et al., CR05-5766RBL - 1                                    TACOMA, WASHINGTON 98402-4305
                                                                                           (253) 428-3800
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 1         IT IS FURTHER ORDERED that the Pretrial Conference date be extended to
 2   March 8, 2006 at 9:00 a.m. and Pretrial Motions due date be extended to
 3   January 24, 2005.
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                                            A
           IT IS SO ORDERED this 15th day of December, 2005.
                                            RONALD B. LEIGHTON
                                            UNITED STATES DISTRICT JUDGE
 7
     Presented by:
 8
     s/ Judith Mandel
 9   JUDITH MANDEL
     Attorney for Defendant
10   Juan Carlos Escobar
11
     s/ Linda Sullivan
12   LINDA SULLIVAN
     Attorney for Defendant
13   Tomas Ramirez-Lara
14
     s/ Paula Olson
15   PAULA OLSON
     Attorney for Defendant
16   Jose Alfredo Gallardo Gonzalez
17

18
     s/ Michael Dion
19   MICHAEL DION
     Assistant United States Attorney
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     [PROPOSED] ORDER GRANTING STIPULATED MOTION TO CONTINUE                    UNITED STATES ATTORNEY
                                                                                1201 PACIFIC AVENUE, SUITE 700
     U.S. v. Escobar, et al., CR05-5766RBL - 2                                 TACOMA, WASHINGTON 98402-4305
                                                                                        (253) 428-3800
